                          UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF NORTH CAROLINA
                               CHARLOTTE DIVISION
                           DOCKET NO. 3:14-cr-00073-FDW
 UNITED STATES OF AMERICA,                         )
                                                   )
         Plaintiff,                                )
                                                   )
 vs.                                               )
                                                   )                   ORDER
 REGINALD WILLIAM LINDSEY,                         )
                                                   )
         Defendant.                                )
                                                   )
                                                   )

        THIS MATTER is before the Court on Defendant’s Motion for Reconsideration (Doc. No.

336), Motion to Amend (Doc. No. 338), and Defendant’s second Motion for Compassionate

Release (Doc. No. 346). This Court has previously issued an order denying Defendant’s first

motion for compassionate release (Doc. No. 334).       In that order, the Court considered the

arguments previously submitted by Defendant in numerous motions and letters, and the Court

rejected them. For purposes of review of the instant motion, the Court GRANTS Defendant’s

Motion for Reconsideration and Motion to Amend. Following review of the entire record, the

Court concludes Defendant continues to submit voluminous pleadings seeking the same relief for

the same reasons already denied by this Court. (Doc. Nos. 335, 337, 339, 340, 341, 343, 345, 347,

348).

        For the reasons stated in the Court’s prior order (Doc. No. 334), which is hereby

incorporated by reference, and after reviewing the entire record, the Court DENIES the instant

motion seeking compassionate release. It bears repeating that Defendant’s filings with the Court

fail to demonstrate extraordinary and compelling reasons to support a sentence reduction,

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particularly where he has been vaccinated against COVID-19 since the filing of his original

motions. (Doc. No. 351). Even presuming Defendant’s new filings establish an “extraordinary

and compelling circumstance” for a sentence reduction, the Court denies the motion because—

under the current record before the Court—it is not warranted based on consideration of the

applicable § 3553(a) factors. U.S. v. High, 997 F.3d 181, 186 (4th Cir. 2021) (“[I]f a court finds

that a defendant has demonstrated extraordinary and compelling reasons, it is still not required to

grant the defendant's motion for a sentence reduction. Rather, it must ‘consider[]’ the § 3553(a)

sentencing factors ‘to the extent that they are applicable’ in deciding whether to exercise its

discretion to reduce the defendant’s term of imprisonment. 18 U.S.C. § 3582(c)(1)(A).”). For the

reasons already stated by the Court, the factors in 18 U.S.C. § 3553(a) counsel against granting

this Defendant compassionate release. (Doc. No. 334).

       IT IS THEREFORE ORDERED that Defendant’s Motion for Reconsideration (Doc. No.

336) and Motion to Amend (Doc. No. 338) are GRANTED, and Defendant’s Motion for

Compassionate Release (Doc. No. 346) is DENIED.

       IT IS SO ORDERED.

                                            Signed: November 3, 2021




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